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EXHIBIT 7
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PATENT RESEARGH TCGOLS
Time to Trial

Courts Judges

Illinois Northern District x

Trial Date

January 1, 2015 — January 1, 2020

Dates to Exclude @

os Exclude cases with Transfers
or Exclude cases with Stays
GX) Exclude outliers @

se Exclude cases with
Consolidations

Case Size @
Small Medium Large
Trial Type  @

Bench Trials [Jury Trials

4 Docket Navigator

AVERAGE MONTHS MEDIAN MONTHS MAXIMUM MONTHS MINIMUM MONTHS

37 360 61 14

TIME TO TRIAL FOR NDIL ® TIME TO TRIAL COMPARISON 8

B All Courts/Judges i Selected Court/Judge

h i

Data on this page is based on the time from the filing date of a case (or the earliest case in a group of transferred/consolidated cases) to the time
of the earliest document indicating that a trial occurred such as a Verdict (indicating a jury trial) or Findings of Fact and Conclusions of Law
(indicating a bench trial).

